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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

ERIK GARCIA,                                         )
                                                     )
                       Plaintiff,                    )
                                                     )      CIVIL ACTION
vs.                                                  )
                                                     )      FILE No. 4:19-CV-04839
TAQUERIA LA PERLA DE JALISCO INC.                    )
and HARTMAN SPE, LLC,                                )
                                                     )
                       Defendants.                   )


                JOINT STIPULATION OF DISMISSAL WITH PREJUDICE

      Plaintiff, ERIK GARCIA (“Plaintiff”) and Defendants, TAQUERIA LA PERLA DE

JALISCO INC. and HARTMAN SPE, LLC (“Defendants”), by and through undersigned counsel

and pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure, hereby jointly

stipulate to the dismissal of Defendants, TAQUERIA LA PERLA DE JALISCO INC. and

HARTMAN SPE, LLC, and this entire Action with prejudice. Each party to bear their own fees

and costs.

             Respectfully submitted this 10th day of March, 2020.



                                             Law Offices of
                                             THE SCHAPIRO LAW GROUP, P.L.

                                             /s/ Douglas S. Schapiro
                                             Douglas S. Schapiro
                                             Southern District of Texas ID No. 3182479
                                             The Schapiro Law Group, P.L.
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                                          /s/     Caleb J. Edwards________________
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                                          Tel: (713) 467-2222
                                          cedwards@hi-reit.com




                              CERTIFICATE OF SERVICE

     I HEREBY CERTIFY that on this 10th day of March, 2020, we electronically filed the

forgoing with the Clerk of the Court by using the CM/ECF system.


                                          /s/ Douglas S. Schapiro
                                          Douglas S. Schapiro
                                          Southern District of Texas ID No. 3182479
